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   14                      UNITED STATES DISTRICT COURT
   15                     CENTRAL DISTRICT OF CALIFORNIA
   16
   17   In re: KIA HYUNDAI VEHICLE            Case No. 8:22-ML-3052-JVS(KESx)
        THEFT MARKETING, SALES
   18   PRACTICES, AND PRODUCTS               The Honorable James V. Selna
        LIABILITY LITIGATION
   19                                         DEFENDANTS’ REQUEST FOR
                                              BRIEFING SCHEDULE
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   22   This document relates to:
   23   Sanders v. Kia America, Inc.,
        Case No. 8:23-CV-00486
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    1         Defendants Kia America, Inc. and Hyundai Motor America (together,
    2 “Defendants”), by and through their undersigned counsel, respectfully request that
    3 the Court issue an order setting a briefing schedule for the Motion to Remand to
    4 Superior Court of the State of California for the County of Orange and Request for
    5 Award of Attorneys Fees in the Amount of $19,005, filed by plaintiffs in Sanders v.
    6 Kia America, Inc., Case No. 8:23-cv-00486-JVS-KES, a related case in the above-
    7 referenced action.
    8         WHEREAS, plaintiffs in the Sanders action (the “Sanders Plaintiffs”) filed
    9 their complaint in the Superior Court of California, County of Orange, on February
   10 6, 2023, and effected service on February 17, 2023.
   11         WHEREAS, Defendants removed the Sanders action to the United States
   12 District Court for the Central District of California on March 17, 2023.
   13         WHEREAS, in connection with that removal, Defendants notified the Court
   14 that the Sanders action is related to actions transferred to this District and assigned
   15 to this Court for coordinated or consolidated proceedings by the U.S. Judicial Panel
   16 on Multidistrict Litigation pursuant to 28 U.S.C. § 1407, captioned: In re: Kia
   17 Hyundai Vehicle Theft Marketing, Sales Practices, and Products Liability
   18 Litigation, Case No. 8:22-ML-3052. See Notice of Related Cases, Sanders v. Kia
   19 America, Inc. (No. 8:23-cv-00486-JVS-KES), ECF No. 5. This Court then issued
   20 an Order re Transfer Pursuant to General Order 21-01 (Related Cases). See Transfer
   21 Order, Sanders v. Kia America, Inc. (No. 8:23-cv-00486-JVS-KES), ECF No. 11
   22 (noting that the Sanders action arose from the same or closely related transactions,
   23 happenings, or events; called for determination of the same or substantially related
   24 or similar questions of law and fact; and/or for other reasons, entailed substantial
   25 duplication of labor if heard by different judges).
   26         WHEREAS, in the above-referenced MDL proceeding, this Court has issued
   27 a stay of motions practice. See Order No. 1: Initial Conference, ECF No. 2 (Section
   28 5.3 stating, “Stay of Motions Practice. Except for motions for emergency relief, no
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    1 motion shall be filed until and in accordance with the Scheduling Order.”); see also
    2 id. (Section 5.4 further stating that no Rule 11, 12, or 56 motion may be filed
    3 “without leave of court and unless it includes a certificate that the movant has
    4 conferred with opposing counsel in a good faith effort to resolve the matter without
    5 court action”).
    6         WHEREAS, this Court has also ordered that “[a]ny pending motion i[n] a
    7 single action is hereby stayed.” Order No. 4: Implementing Joint Case Management
    8 Statement 3, ECF No. 70.
    9         WHEREAS, both Order No. 1 and Order No. 4 apply with equal force to the
   10 Sanders action. See Order No. 1: Initial Conference, ECF No. 2 (Section 6 stating,
   11 “This Order shall also apply to related cases later filed in, removed to, or transferred
   12 to this Court.”); see also Order No. 4: Implementing Joint Case Management
   13 Statement, ECF No. 70 (Section 2 stating that this Court’s previous and subsequent
   14 orders, including Order No. 4, “shall apply automatically to all consolidated or
   15 coordinated cases, including cases that later become a part of this proceeding,”
   16 “unless specified otherwise”).
   17         WHEREAS, on April 14, 2023, the Sanders Plaintiffs filed a Motion to
   18 Remand the Sanders action to the Superior Court of California, County of Orange,
   19 and set the hearing date for that Motion to Remand as May 15, 2023. See Mot. to
   20 Remand, Sanders v. Kia America, Inc. (No. 8:23-cv-00486-JVS-KES), ECF No. 12.
   21 Defendants’ deadline to oppose the Motion to Remand is therefore on or around
   22 April 24, 2023, and the Sanders Plaintiffs’ deadline to reply is therefore on or around
   23 May 1, 2023.
   24         WHEREAS, given the Court’s prior orders and to better align with the current
   25 briefing schedules and other deadlines set by the Court’s scheduling order,
   26 Defendants believe that the Sanders Plaintiffs’ Motion to Remand can be heard at
   27 the next status conference scheduled in the above-referenced MDL proceeding. This
   28 timing would be reasonable, serve the interest of judicial economy, conserve the
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    1 resources of the parties, and reduce the burden on the Court and its staff. This timing
    2 would also allow the other parties, including the other consumer plaintiffs, to provide
    3 the Court with their thoughts, if any.
    4         WHEREAS, counsel for Defendants attempted to meet and confer with
    5 counsel for the Sanders Plaintiffs to agree to a briefing schedule and were refused.
    6 See Declaration of Peter J. Brennan ¶¶ 4–5 & Ex. 3.
    7         WHEREAS, there have been no prior requests for extensions in connection
    8 with this Motion to Remand.
    9         Defendants therefore respectfully REQUEST that the Court continue the
   10 hearing for the Motion to Remand, extend the deadlines related to the Motion to
   11 Remand, and set a briefing schedule as follows:
   12         1.    The Motion to Remand hearing, currently set for May 15, 2023 at 1:30
   13 p.m., is continued to align with the next status conference, currently set for June 8,
   14 2023 at 8:00 a.m.
   15         2.    Defendants’ deadline to oppose the Motion to Remand is extended from
   16 April 24, 2023 to May 18, 2023.
   17         3.    The Sanders Plaintiffs’ deadline to reply is extended from May 1, 2023
   18 to May 25, 2023.
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    1   Dated: April 18, 2023            JENNER & BLOCK LLP
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